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                     EXHIBIT P
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From:               Zapolsky, David
To:                 Agarwal (Corporate), Amit; Aubrey, Colleen; Beauchamp, Christine; Bezos, Jeff; Blackburn, Jeff; Carney, Jay;
                    hold-davecl; Davis, Alicia Boler; DeSantis, Peter; Felton (Seattle), John; Galetti, Beth; Garman, Matt; Grandinetti,
                    Russell; Hamilton (Seattle), James; Herdener, Drew; Herrington, Doug; Hoggett, Tony; Hopkins, Mike; Jassy,
                    Andy; Kotas, Paul; Krawiec, Peter; Limp, Dave; Lindsay, Neil; Olsavsky, Brian; Prasad, Rohit; Schmidt (Security),
                    Steve; Selipsky, Adam; Taylor, Tom; Treadwell, Dave; Zapolsky, David
Subject:            Wickr Instructions: Privileged and Confidential
Date:               Wednesday, March 2, 2022 11:39:24 AM


Hi everyone,

As we discussed at our breakfast yesterday, you can install Wickr on your laptop or phone following
these instructions (which are accessible only from an Amazon laptop unless your phone has Amazon
Enterprise Access). If you need help with the installation, please contact redbrass@amazon.com.
Wickr is currently available only for execs L10 and up (and their EAs) and can only be used internally,
but the team is working to expand the functionality this year, targeting June.

                                                                                                                   For additional
details on Wickr, below is the announcement that went out in December.

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Subject line:

Hello, you now have access to Wickr, a secure AWS messaging, video conferencing, and file sharing
app. Follow the steps in the Wickr Enterprise article on it.amazon.com to start using Wickr.

When to use Wickr

    1.
                                                       Wickr is managed by IT Services and has the
         same strong encryption, includes enhanced security features, and is approved for your use.




    2.
                                                                                     As discussed
         below, if you are on litigation hold Wickr ensures that messages deleted from your device will
         be saved centrally.

    3. Use Wickr when the message recipients also have access to Wickr. L10+ employees and their
         EAs are currently part of an early, invite-only launch of Wickr.



Features of Wickr

         Wickr offers enhanced security features to protect your sensitive business communications



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         including end-to-end encryption.

         Your message content will be available for 30 days, but you can configure that period to be
         shorter.

         Wickr provides customizable features, including message expiration time and “burn-on-read,”
         to protect sensitive business communications.

What if I’m on litigation hold?




         If you’re on litigation hold, your Wickr messages will be saved centrally even if you have
         configured them to be deleted from your device after a set time period.




David Zapolsky (he/him)
Amazon Legal

Note: I send emails at times that are convenient for me. But unless I ask otherwise or it’s clear from the context, no response is
necessary (if at all) until convenient for you.




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